
17 Mich. App. 640 (1969)
170 N.W.2d 272
PEOPLE
v.
FOSHIE
Docket No. 5,104.
Michigan Court of Appeals.
Decided June 23, 1969.
Leave to appeal denied February 4, 1970.
Frank J. Kelley, Attorney General, Robert A. Derengoski, Solicitor General, George N. Parris, Prosecuting Attorney, Thaddeus F. Hamera, Chief Appellate Lawyer, and Stephen F. Osinski, Assistant Prosecuting Attorney, for the people.
William M. Havey, for defendant on appeal.
*641 BEFORE: QUINN, P.J., and McGREGOR and BRONSON, JJ.
Leave to appeal denied February 4, 1970. See 383 Mich 765.
PER CURIAM:
Defendant Bert Brumley Foshie was tried without a jury and convicted of statutory rape contrary to MCLA § 750.520 (Stat Ann 1954 Rev § 28.788). On appeal he contends that he was denied his right to trial by jury; that the preliminary examination transcript was not filed in the trial court; and that the people failed to indorse and produce a principal witness. The people have filed a motion to affirm the conviction.
The defendant expressly waived a jury trial. The transcript in question was properly filed in the file of defendant's co-defendant, and was available and accessible to defendant. The witness was an accomplice and thus the people were not required to indorse or call him. People v. Virgil Brown (1969), 15 Mich App 600. The questions presented here on appeal are unsubstantial and require no formal argument or submission.
The motion to affirm the defendant's conviction is granted.
